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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


ELIZA REID and TRACY WATERS, on behalf
of themselves and all others similarly situated,         Civ. Action No.: 8:15-cv-00277-BKS-CFH

                                    Plaintiffs,
            vs.
                                                          JOINT MOTION FOR DISMISSAL OF
GMC SKIN CARE USA INC. d/b/a G.M.                         PLAINTIFF’S CASE PURSUANT TO FED.
COLLIN,                                                   R. CIV. P. 41(a)(1)(A)
                                    Defendant.


       TO THE HONORABLE COURT, ALL PARTIES HEREIN AND THEIR

RESPECTIVE ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Plaintiffs ELIZA RIED and TRACY WATERS, on behalf of

themselves and all others similarly situated (“Plaintiffs”), through their counsel of record, that

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this action shall be, and is dismissed

WITH PREJUDICE as to all individual claims asserted by Plaintiff against Defendant, and

WITHOUT PREJUDICE as to any class claims. Each party shall bear its own fees and costs.

Further, the terms of the Settlement Agreement entered into between the parties to this action are

hereby incorporated in this Stipulation.



Dated: July 19, 2017                   By:        /s/ Ronald A. Marron
                                                  Ronald A. Marron

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                                     July 26, 2017
